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                    EXHIBIT C
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                          ORIGINAL
~~T~D - S;A;E~ ~F - ~E~I ~        -    .~-...:==___-=.:-.?:;;:. = -·:(1011 Id 3llftil   CTMENT
                                                                - - - -:#:JOO
         - v. -                                                  :            12
                                      0311:1 ,\TIV JINO}J.lJ313"
ROYCE CORLEY,                                                .LN'J}'\JOJOO
    a/k/a "Ron Iron",                                         AN.OS JGSO
                                                         . --·· ... -- - -
                                                        ---·
                                                                ~      (")
                              Defendant.
                                                        -   -     ~
                                                                ..~    ,."\    CRIM048
                                           COUNT JNE

                  The Grand Jury charges:

                  1.     From at least in or about August 2011 up to and

including in or about January 2012, in the Southern District of

New York and elsewhere, ROYCE CORLEY, a/k/a "Ron Iron," the

defendant, knowingly, in and affecting interstate and foreign

commerce, did recruit, entice, harbor, transport, provide,

obtain, and maintain, by any means, a person, and did benefit,

financially and by receiving a thing of value, from

participation in a venture which                      h~s       engaged in such act,

knowing and in reckless disregard Jf the fact,                                    that means of

force,    threats of force,           fraud,       anj coercion, and a combination

of such means, would be used to cause the person to engage in a

commercial sex act, and that the person had not attained the age

of 18 years and would be caused to engage in a commercial sex

act, to wit, CORLEY recruited, enticed, transported, provided,

obtained and maintained a person who was less than 18-years old

("Victim-1"), causing images of Vi=tim-1 to be transmitted over

the internet for the purposes of engaging in commercial sex


                                                  2
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acts, and compelling Victim-1 to engage in commercial sex acts

that benefitted CORLEY financially.

     (Title 18, United States Code, Sections 159l(a) & (b) (2).

                                 COUNT   rwo
            The Grand Jury charges:

            2.   From at least in or     ~bout   August 2011 up to and

including in or about January 2012, in the Southern District of

New York and elsewhere, ROYCE CORLEY, a/k/a "Ron Iron," the

defendant, knowingly,     in and affecting interstate and foreign

commerce, did recruit, entice, harbor, transport, provide,

obtain, and maintain, by any means, a person, and did benefit,

financially and by receiving a thing of value, from

participation in a venture which ha.s engaged in such act,

knowing and in reckless disregard of the fact,          that means of

force,   threats of force,   fraud, and coercion, and a combination

of such means, would be used to cause the person to engage in a

commercial sex act, and that the p•:rson had not attained the age

of 18 years and would be caused to engage in a commercial sex

act, to wit, CORLEY recruited, enticed, transported, provided,

obtained and maintained a person w::i.o was less than 18-years old

("Victim-2"), causing images of Victim-2 to be transmitted over

the internet for the purposes of engaging in commercial sex

acts, and compelling Victim-2 to engage in commercial sex acts

that benefitted CORLEY financially.

     (Title 18, United States Code, Sections 1591(a) & (b) (2).




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                          FORFEITURE ALLEGATION

             3.   As a result of committing the sex trafficking

offense as alleged in Counts One and Two of this Indictment,

ROYCE CORLEY, a/k/a "Ron Iron,n the defendant, shall forfeit to

the United States, pursuant to Title 18, United States Code,

Section 1594:     (1) any property, real and personal, used or

intended to be used to commit or to facilitate the commission of

the offense; and (2) any property, real and personal,

constituting or derived from, any proceeds obtained, directly or

indirectly, as a result of the offense.

                       Substitute Asset Provision

             4.   If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

             (a) cannot be located   up~n   the exercise of due

diligence;

             (b) has been transferred or sold to, or deposited

with, a third person;

             (c) has been placed beyond the jurisdiction of the

Court;

             (d) has been substantially diminished in value; or

             (e) has been commingled with other property which

cannot be subdivided without difficulty;




                                     4
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it is the intent of the United States, pursuant to 21 U.S.C.

§   853(p) and 28 U.S.C. § 246l(c), to seek forfeiture of any

other property of said defendant up to the value of the above

forfeitable property.

            {Title 18, United StateE1 Code, Section 1594;
           Title 21, United States Codes, Section 853; and
            Title 28, United States Code, Section 2461.)




FOREPERSON                               PREET BHARARA
                                         United States Attorney




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           Form No. USA-33s-274                        (Ed. 9-25-58)



               UNITED STATES DISTRICT COURT
              SOUTHERN DISTRIC~' OF NEW YORK




                  UNITED STATES OF AMERICA

                                - v. -

                           ROYCE CORLEY,
                        a/k/a "Ron Iron"

                             Defenda.nt.




                             INDICTMENT

                             12 Cr.

            ( 18 U . S . C . § § 15 91 (a) and ( b) ( 2 ) . )




       --- - --- ----- ~ -     ....- _ , . . .   PREET BHARARA
                                                 - - - ~·


                                        United States Attorney.
